
USCA1 Opinion

	




       No. 96-1973
                                 JON MILLS, ET AL.,
                               Plaintiffs, Appellants,
                                         v.
                                   STATE OF MAINE,
                                Defendant, Appellee.
                                ____________________
                    APPEAL FROM THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF MAINE
                     [Hon. D. Brock Hornby, U.S. District Judge]
                                ____________________
                                       Before
                                Stahl, Circuit Judge,
                            Bownes, Senior Circuit Judge,
                              and Lynch, Circuit Judge.
                                ____________________
            John R. Lemieux for appellants.
            Peter J.  Brann,  Assistant Attorney  General,  with whom  Andrew
       Ketterer, Attorney  General, and Thomas D.  Warren, Assistant Attorney
       General, were on brief for appellee.
                                ____________________
                                    July 7, 1997
                                ____________________

                      STAHL, Circuit  Judge.   This case  requires us  to
            determine  whether  the   Eleventh  Amendment,  as   recently
            interpreted 
                       by the Supreme Court in Seminole Tribe v. Florida,
            116 S. Ct. 1114 (1996), bars a federal suit for overtime  pay
            under the Fair Labor Standards Act ("FLSA") brought by  state
            employees against  the State of  Maine.   The district  court
            concluded 
                     that 
                         Seminole 
                                  Tribe was a bar and dismissed the suit.
            For the reasons that  follow, we affirm that ruling and  thus
            find unconstitutional a  grant of federal court  jurisdiction
            contained in a provision of 29 U.S.C. S 216(b).  We also deny
            a 
             motion 
                    made 
                        on 
                           appeal 
                                  by plaintiffs-appellants to amend their
            complaint.  
                          Background and Prior Proceedings 
                      In this  case, filed in  federal district court  in
            December 1992, ninety-six  current and  former probation  and
            parole 
                  officers (plaintiffs-appellants) have asserted that the
            State  of Maine  improperly failed  to pay  them overtime  in
            accordance with the requirements imposed by Section 7 of  the
            FLSA, 
                 as 
                    codified 
                            at 
                               29 
                                  U.S.C. S 207.  Maine contended that the
            probation  officers were  exempt  from  the  FLSA's  overtime
            provisions.  The district court concluded that the plaintiffs
            were covered  employees but  came within  the FLSA's  partial
            exemption  for  law  enforcement  officers,  thus   requiring
            additional proceedings on the scope of Maine's liability  and
            the damages  recoverable by the  probation officers, if  any.
                                         -2-
                                          2

            Following 
                     the 
                        district 
                                 court's ruling, the state brought itself
            into 
                compliance 
                           with 
                               the 
                                   FLSA's wage and hour requirements, but
            because 
                   the 
                      litigants 
                                disputed how much overtime back pay Maine
            owed the probation officers, the district court submitted the
            plaintiffs' claims and time sheets to a special master.   See
            Mills
                 
                 v. 
                    Main
                        e, 853 F. Supp. 551, 552 (D. Me. 1994) (ruling on
            "issues 
                   affecting 
                            what 
                                 damages the State must pay the probation
            officers"); Mills  v. Maine,  839 F.  Supp. 3  (D. Me.  1993)
            (finding liability).
                      The 
                         proceedings on liability and damages had not yet
            concluded when  the  Supreme  Court issued  its  decision  in
            Seminole Tribe v. Florida, 116 S. Ct. 1114 (1996).   Seminole
            Tribe held that Congress cannot exercise its Article I powers
            to abrogate the states' Eleventh Amendment immunity from suit
            in  federal court,  see id.  at 1131-32,  and thus  overruled
            Pennsylvania
                        
                       v. 
                          Union 
                                Gas Co., 491 U.S. 1 (1989).  On the basis
            of 
              the 
                  holding 
                         in 
                            Seminol
                                   e Tribe, Maine filed a motion with the
            district court asking that the case be dismissed for lack  of
            subject matter jurisdiction.  The district court granted  the
            motion  and dismissed the  case pursuant to  Fed. R. Civ.  P.
            12(b)(1).  See Mills v. Maine, No. 92-410-P-H, 1996 WL 400510
            (D. 
               Me. 
                   July 
                        3, 
                          1996). 
                                  
                                  In so doing, the district court refused
            the probation officers' request  that the court either  allow
            them 
                to 
                   conduct discovery on whether Maine waived its Eleventh
                                         -3-

            Amendment immunity or,  alternatively, transfer  the case  to
            state court.  This appeal ensued.
                                 Standard of Review
                      We review de novo a district court's dismissal  for
            lack of subject matter jurisdiction under Rule 12(b)(1).  See
            Murphy v. United States,  45 F.3d 520, 522 (1st Cir.),  cert.
            denied, 115 S. Ct. 2581 (1995).
                   Seminole Tribe and Eleventh Amendment Immunity
                      To determine  whether  Congress has  abrogated  the
            states' 
                   Eleventh Amendment immunity from suit in federal court
            in 
              enacting 
                       the FLSA amendments at issue in this case, we must
            examine   two  issues:      "first,  whether   Congress   has
            'unequivocally  expresse[d]  its   intent  to  abrogate   the
            immunity,' 
                      and second, whether Congress has acted 'pursuant to
            a valid exercise of power.'"   Seminole Tribe, 116 S. Ct.  at
            1123 
                (internal 
                         citation 
                                  omitted) (quoting Green v. Mansour, 474
            U.S. 64, 68 (1985)). 
            A.  Intent to Abrogate
                      A centerpiece of the New Deal, Congress enacted the
            Fair 
                Labor 
                      Standards Act in 1938.  The constitutional validity
            of the Act's minimum  wage, maximum hour, and  record-keeping
            requirements, in addition  to its  prohibition of  interstate
            shipment 
                    of 
                      proscribed 
                                 goods, was challenged under the Commerce
            Clause 
                  as 
                     well as the Fifth and Tenth Amendments.  A unanimous
            Supreme Court upheld the Act  in 1941.  See United States  v.
                                         -4-
                                          4

            Darby, 312  U.S. 100  (1941).   While the  original 1938  Act
            specifically excluded states and their political subdivisions
            from its aegis, Congress amended the FLSA in 1961 and 1966 to
            extend coverage  to  some  state workers  employed  in  state
            schools, hospitals, and nursing homes.  These amendments were
            challenged under the Tenth  Amendment, but the Supreme  Court
            ruled in 1968 that the amendments were legitimate expressions
            of Congress' Commerce Clause powers.  See Maryland v.  Wirtz,
            392 U.S. 183, 198-99 (1968).
                      In 1973, however, the Supreme Court concluded  that
            the  FLSA did not  subject states to  suits brought by  state
            employees in federal court because Congress had not indicated
            with sufficient  clarity an  intent to  abrogate the  states'
            Eleventh Amendment sovereign immunity.  See Employees of  the
            Dep't of Pub. Health &amp; Welfare v. Department of Pub. Health &amp;
            Welfare
                  , 
                    411 
                       U.S. 
                            279, 
                                 285 (1973).  The Court noted that it had
            scrutinized the statute's  text and legislative history,  but
            "ha[d] 
                  found 
                        not 
                           a 
                             word 
                                  . . . to indicate a purpose of Congress
            to make it  possible for a citizen  of that State or  another
            State to sue the State in the federal courts."  Id. 
                      In 1974,  in the wake  of the  Court's decision  in
            Employees
                    , 
                      Congress amended the FLSA to cover almost all state
            employees  and to  express its  intent to  subject states  to
            private suits  brought in federal  court.   Two years  later,
            however, in 1976, the Supreme Court overruled Wirtz, and held
                                         -5-
                                          5

            that 
                Congress 
                         did 
                            not 
                                have the power to extend FLSA protections
            to  state employees  in  "areas of  traditional  governmental
            functions." 
                        
                        National League of Cities v. Usery, 426 U.S. 833,
            855 
               (1976) 
                     (5-4 
                          decision).  In 1985, however, the Supreme Court
            reversed 
                    itself yet again and overruled Usery in Garcia v. San
            Antonio  Metro.  Transit Auth.,  469  U.S.  528  (1985)  (5-4
            decision). 
                       
                       "The 
                           result 
                                  of Garcia was to bring all employees of
            the states and their  political subdivisions within the  full
            coverage of the FLSA."  Gilbreath v. Cutter Biological, Inc.,
            931 F.2d 1320, 1324 (9th Cir. 1991).
                      There can  be little doubt  that the  FLSA, in  its
            current 
                   form, 
                        makes 
                              clear Congress' intention to abrogate state
            immunity from suit in federal court in private FLSA  actions.
            The Act, as amended, defines "Employer" as "any person acting
            directly  or indirectly  in the  interest of  an employer  in
            relation to  an employee and includes  a public agency."   29
            U.S.C. S 203(d).  In relevant part, it further provides that,
            "In 
               the 
                   case 
                       of 
                          an 
                             individual employed by a public agency, such
            term 
                means 
                      . 
                        . . any individual employed by a State, political
            subdivision 
                       of a State, or an interstate governmental agency."
            29 U.S.C.  S 203(e)(2),(C).   Finally, the  Act, as  amended,
            provides in pertinent  part that, "An  action to recover  the
            liability  prescribed .  . .  may be  maintained against  any
            employer (including a public agency) in any Federal or  State
                                         -6-
                                          6

            court 
                 of 
                    competent jurisdiction by any one or more employees."
            29 U.S.C. S 216(b).
                      In 
                        light 
                              of 
                                this 
                                     language and the history surrounding
            it, we  agree with  the  other courts  of appeals  that  have
            examined 
                    the 
                        FLSA's provisions and have concluded that the Act
            contains 
                    the 
                        necessary clear statement of congressional intent
            to abrogate state sovereign immunity.  See Timmer v. Michigan
            Dep't 
                 of 
                   Comm., 
                          104 
                              F.3d 
                                   833, 837 (6th Cir. 1997); Wilson-Jones
            v. 
              Caviness
                      , 
                       99 
                          F.3d 
                               203, 208 (6th Cir. 1996), reh'g denied and
            amended
                   
                   by
                      
                     107 
                         F.3d 
                              358 
                                  (6th Cir. 1997); Brinkman v. Department
            of 
              Corrections
                        , 
                          21 
                             F.3d 
                                  370, 372 (10th Cir. 1994); Reich v. New
            York, 3 F.3d 581, 590-91 (2d Cir. 1993); Hale v. Arizona, 993
            F.2d 1387, 1391 (9th Cir. 1993) (en banc) ("Congress has made
            unmistakably clear  its intention to  apply the  FLSA to  the
            states.").
            B.  Power to Abrogate
                      Having  determined   that  Congress   has   clearly
            manifested 
                      its 
                          intent 
                                to 
                                   abrogate state sovereign immunity from
            private FLSA suits  in federal courts, we must next  consider
            whether Congress in doing so "has acted 'pursuant to a  valid
            exercise of  power.'"   Seminole Tribe,  116 S.  Ct. at  1123
            (quoting Mansour, 474 U.S. at 68). 
                      1.  The Recital/Declamation of Power Issue
                      Both  sides in  this  dispute agree  that  Congress
            referred 
                    to 
                       its 
                          Commerce 
                                   Clause powers when it enacted both the
                                         -7-
                                          7

            original 
                    FLSA 
                         and 
                            the 
                                subsequent amendments to the Act that are
            at 
              issue 
                    in 
                       this case.  See 29 U.S.C. S 202(b) (declaring that
            the FLSA is an "exercise by Congress of its power to regulate
            commerce 
                    among the several States and with foreign nations.").
            The 
               probation 
                        officers 
                                 concede that, whatever may have been the
            law 
               of 
                  the 
                     land 
                          under 
                                the holding of Union Gas, see 491 U.S. at
            23, Seminole  Tribe  now precludes  Congress from  using  its
            Commerce 
                    Clause powers or any of its other Article I powers to
            grant 
                 jurisdiction to federal courts in suits involving states
            that do  not consent to be sued.  See 116 S. Ct. at  1131-32.
            The 
               probation officers, however, point out that Seminole Tribe
            reaffirmed 
                      Congress' 
                               power to abrogate state immunity from suit
            in federal court by enacting legislation pursuant to  section
            five 
                of 
                   the 
                      Fourteenth 
                                 Amendment, see id. at 1125, 1128 (citing
            Fitzpatrick v.  Bitzer,  427 U.S.  445, 452-56  (1976)),  and
            contend 
                   that 
                        the 
                           FLSA 
                                amendments still subject unwilling states
            to suit  in federal court because  Congress had the power  to
            enact those amendments under  section five of the  Fourteenth
            Amendment.
                      While Congress' invocation  of its Commerce  Clause
            powers is probative, it is not dispositive of whether it  had
            the  power to  enact the  FLSA amendments  in question  under
            section  five of  the Fourteenth  Amendment.   "'Our duty  in
            passing 
                   on 
                     the 
                         constitutionality of legislation is to determine
            whether Congress had the authority to adopt legislation,  not
                                         -8-
                                          8

            whether it  correctly  guessed the  source of  that  power.'"
            Timmer, 104 F.3d  at 839 (quoting Usery v. Charleston  County
            Sch. Dist.,  558 F.2d 1169,  1171 (4th Cir.  1977)).  As  the
            Supreme  Court  has   explained,  "[t]he   question  of   the
            constitutionality of action taken by Congress does not depend
            on recitals of  the power which  it undertakes to  exercise."
            Woods
                 
                 v. 
                    Cloy
                        d W. Miller Co., 333 U.S. 138, 144 (1948) (quoted
            in EEOC  v. Wyoming,  460 U.S.  226, 243-44  n.18 (1983)  and
            Ramirez
                   
                   v. 
                      Pu
                        erto Rico Fire Serv., 715 F.2d 694, 698 (1st Cir.
            1983)).  See also Laurence H. Tribe, American  Constitutional
            Law 307  n.6 (2d ed. 1988)  ("An otherwise valid exercise  of
            congressional  authority is  not, of  course, invalidated  if
            Congress  happens  to  recite   the  wrong  clause  [of   the
            Constitution] . . . or, indeed, if Congress recites no clause
            at all.") (citing Woods).
                       Specifically 
                                   with 
                                       respect to congressional exercises
            of 
              power 
                    pursuant to section five of the Fourteenth Amendment,
            we have  indicated that  "[t]he omission  of any  ritualistic
            incantation 
                       of 
                          powers 
                                by 
                                   the Congress is not determinitive, for
            there 
                 is 
                    no 
                      requirement 
                                  that the statute incorporate buzz words
            such as  'Fourteenth  Amendment'  or 'section  5'  or  'equal
            protection'."   Ramirez,  715 F.2d  at 698.   Our  Fourteenth
            Amendment approach is one that we have directly adopted  from
            Supreme 
                   Court 
                        precedent. 
                                    See Wyoming, 460 U.S. at 243-44 n.18.
                                         -9-
                                          9

                      Accordingly, as we  have had  previous occasion  to
            point 
                 out, 
                      "absent 
                             an 
                                outright congressional declamation, it is
            th[is] court's task to decipher whether Congress has  enacted
            legislation pursuant to its section  5 powers. . . . Such  an
            inquiry 
                   necessarily focuses upon whether or not the objectives
            of the legislation  are within the  scope of Congress'  power
            under section 5  of the Fourteenth Amendment."  Ramirez,  715
            F.2d at 698.  In undertaking this inquiry, we are mindful  of
            the Supreme Court's cautionary admonition that "we should not
            quickly attribute to Congress an unstated intent to act under
            its 
               authority to enforce the Fourteenth Amendment."  Pennhurst
            State Sch. &amp; Hosp. v. Halderman, 451 U.S. 1, 16 (1981).  This
            word of  warning  suggests  that "a  court  should  carefully
            consider the propriety and effect of concluding that Congress
            has acted pursuant to S 5."  Timmer, 104 F.3d at 840.
                      In 
                        this 
                             case, 
                                  the 
                                      litigants do not dispute that there
            is no congressional  statement in the  FLSA or the  statute's
            legislative 
                       history 
                              of 
                                 any recourse to section five, Fourteenth
            Amendment powers.   Indeed,  the State  of Maine  essentially
            contends that because  Congress invoked  its Commerce  Clause
            powers 
                  in 
                     passing 
                            the 
                                FLSA and the amendments pertinent to this
            dispute, 
                    the 
                        statute cannot be justified under section five of
            the 
               Fourteenth Amendment or any constitutional provision other
            than  the Commerce  Clause.    Even  considering  Pennhurst's
            'proceed 
                    with caution' rule, the problem with this argument is
                                        -10-
                                         10

            that it is  contrary to binding  Supreme Court precedent  and
            prior decisions of this circuit and is not logical.  As other
            federal 
                   courts 
                         have 
                              expla
            to 
              the 
                  FLSA, 
                        one cannot read Congress' statement regarding the
            Act's validity under the Commerce Clause to "indicat[e]  that
            Congress intended to exclude other applicable  constitutional
            bases for the Act."  Brown v. County of Santa Barbara, 427 F.
            Supp. 112, 114  (C.D. Cal. 1977)  (citing Usery v.  Allegheny
            County Hosp., 544 F.2d 148, 155 (3d Cir. 1976)).
                      Because Congress'  recital of  its Commerce  Clause
            powers 
                  did 
                      not 
                         evince 
                                an 
                                   intent to exclude other constitutional
            bases for its action, we thus must "carefully consider,"  see
            Timmer, 104 F.3d at 840, whether the FLSA amendments at issue
            in this case "are  within the scope of Congress' power  under
            section 5 of the Fourteenth Amendment."  Ramirez, 715 F.2d at
            698.1
                                                                        l
            interpretatio
                        n advanced in a recent dissent to a Sixth Circuit
            1.
                                   ined in looking at the 1974 amendments
                  We  thus  reject  a  contrary  view  of  constitutiona
            decision concerning an  amendment to the FLSA, the Equal  Pay
            Act. 
                 
                 See
                     
                     Tim
                        mer, 104 F.3d at 845-47 (Boggs, J., concurring in
            part and dissenting in part).  The dissent's author explained
            that 
                he 
                   could 
                        not 
                            agree 
                                  that Congress' "exclusive invocation of
            only  one source  of  power  was not  only  unnecessary,  but
            completely 
                      irrelevant."  Id. at 846.  "If that were the case,"
            he contended, "then any such statement . . . would always  be
            mere surplusage and a  court would always be free to  rummage
            through the Constitution  to find some clause that the  court
            thinks might support the exercise of power."  Id.  While  the
            reasoning in the  Timmer dissent has some surface appeal,  we
            choose 
                  not 
                      to 
                        embrace 
                                it 
                                   in light of the contrary Supreme Court
            and  First Circuit  precedent that  we consider  above.   See
            Wyoming,  460 U.S. at  243-44 n.18; Woods,  333 U.S. at  144;
            Ramirez, 715 F.2d at 698.    
                                        -11-
                                         11

                      2.  The FLSA Amendments and Equal Protection
                      Section five  of  the Fourteenth  Amendment,  which
            provides that "[t]he Congress shall have power to enforce, by
            appropriate legislation, the provisions of [this Amendment],"
            is a  congressional enforcement clause  that is  by no  means
            unique.  Virtually  identical language is  also found in  the
            Thirteenth, Fifteenth, Eighteenth, Nineteenth,  Twenty-third,
            Twenty-fourth, and Twenty-sixth Amendments.  When determining
            whether congressional enactments are "appropriate" and  valid
            exercises 
                     of 
                       enforcement 
                                   clause powers such as the one at issue
            here, 
                 Supreme 
                        Court 
                              precedent indicates that we look to whether
            the 
               act 
                   is 
                      a 
                        "rational means" to an end that is "comprehended"
            by 
              the 
                  underlying constitutional amendment.  South Carolina v.
            Katzenbach, 383 U.S. 301,  324, 326 (1966) (upholding  Voting
            Rights 
                  Act 
                      of 1965 under the Fifteenth Amendment's enforcement
            clause); see also James Everard's Breweries v. Day, 265  U.S.
            545, 
                558-59, 
                        563 
                           (1924) 
                                  (upholding Supplemental Prohibition Act
            of 1921 under the Eighteenth Amendment's enforcement clause).
                      The classic  touchstone for  determining whether  a
            congressional enactment is rationally related to a proper end
            comprehended by a  constitutional provision is Chief  Justice
            Marshall's formulation in McCulloch v. Maryland:
                    We admit, as all must admit, that the  powers
                    of the government  are limited, and that  its
                    limits are not to be transcended. But . . . .
                    [l]et the end be legitimate, let it be within
                    the scope of the constitution, and all  means
                    which  are  appropriate,  which  are  plainly
                                        -12-
                                         12

                    adapted 
                           to 
                              that end, which are not prohibited,
                    but consist with the letter and spirit of the
                    constitution, are constitutional.
          17 U.S. (4 Wheat.) 316, 421 (1819).
                      The Supreme Court  has specifically  turned to  Chief
          Justice 
                 Marshall's 
                           exposition in discussing the reach and limits of
          congressional 
                       power 
                            under section five of the Fourteenth Amendment,
          and has concluded that congressional power under this enforcement
          provision  "ha[s] th[e]  same broad  scope" as  that sketched  in
          McCulloch.  Katzenbach v. Morgan, 384 U.S. 641, 650 (1966).   The
          operative Fourteenth Amendment test is indeed little more than  a
          paraphrasing of Chief Justice Marshall's formulation.  See id. at
          650-51;  Ex   parte  Virginia,  100   U.S.  339,  345-46   (1879)
          (interpreting scope of congressional power under the  enforcement
          clauses 
                 of 
                    the Reconstruction Amendments).  In Morgan, the Supreme
          Court articulated a  three-pronged test  for determining  whether
          congressional legislation is  enacted to  enforce the  Fourteenth
          Amendment's  Equal Protection  Clause.   Specifically, the  Court
          determined  that  a   congressional  enactment  is   "appropriate
          legislation" under section five for Equal Protection purposes  in
          the following circumstances:   (1) if it  "may be regarded as  an
          enactment to enforce the Equal Protection Clause," (2) if it  "is
          'plainly 
                  adapted 
                          to 
                            that 
                                 end,'" and (3) if it "is not prohibited by
          but  is   consistent  with  'the   letter  and   spirit  of   the
                                        -13-
                                         13

          constitution.'"                                             ,  1
          U.S. at 421).2
                      The Sixth Circuit has concluded that the three 
                           Morgan,  384 U.S. at 651 (quoting McCulloch    7
                                                                     Morgan
          factors effectively reworked the longstanding constitutional test
          we 
            have 
                 outlined above by requiring something more than a rational
          relationship  between a  congressional  enactment  and  the  ends
          comprehended by the Fourteenth  Amendment.  See Wilson-Jones,  99
          F.3d at  209 ("It is clear to us  that these three . . .  factors
          cannot be kept  so permissive as to  make them collapse into  the
          'rationally  related' test  generally  used for  the  enforcement
          clauses of other constitutional amendments.").  What was clear to
          the Sixth  Circuit panel is  not so easy  to discern because  our
          review 
                of 
                   Supreme 
                          Court 
                                precedent, as indicated above, convinces us
          that Morgan does  not treat section  five differently than  other
          enforcement clauses  and  does not  depart from  the  traditional
          formulation of such clauses' broad scope.  Were the Sixth Circuit
          panel correct, we would have to conclude that Morgan  essentially
          overruled Ex parte Virginia and its progeny sub silentio. 
            2.  This case does not directly implicate the Supreme Court's
            recent decision in City of Boerne v. Flores, -- S. Ct. --,
            1997 WL 345322 (U.S. June 25, 1997) (No. 95-2074).  In
            Boerne, the Court held that Congress' section five power to
            enforce the Fourteenth Amendment does not encompass a
            substantive, nonremedial power to alter or redefine what
            constitutes a violation of the Constitution.  The situation
            that the Court confronted in Boerne does not pertain here,
            where what is at issue is congressional power to enact a
            remedial scheme for the violation of federal statutory law
            that includes a grant of federal jurisdiction over cases
            involving private plaintiffs and states not consenting to
            suit.
                                        -14-
                                         14

                      We do not  read Morgan to  accomplish what the  Sixth
          Circuit suggests.  See Ramirez 715 F.2d at 698 ("The sweep of [Ex
          parte  Virginia's]  mandate  was  reaffirmed  in  Katzenbach   v.
          Morgan.").   Pointing  to Ex  parte  Virginia, the  Morgan  Court
          explained that "congressional  power under S  5 ha[s] th[e]  same
          broad scope"  as  McCulloch  determined Congress  has  under  the
          Commerce  Clause, as  South  Carolina  v.  Katzenbach  determined
          Congress 
                  has 
                      under section two of the Fifteenth Amendment, see 383
          U.S. 
              at 
                 326, 
                      and 
                         as 
                            James
                                  Everard's Breweries, see 265 U.S. at 558-
          59, determined Congress  had under the enforcement clause of  the
          now-repealed Eighteenth Amendment.  See Morgan 384 U.S. at 650-51
          (discussing cases).  On our reading of the case, we cannot  agree
          with  the  Sixth Circuit  that  a  rearticulated  and  heightened
          Fourteenth 
                    Amendment standard now applies by virtue of Morgan.  We
          thus see no  reason to doubt the  correctness of our decision  in
          Ramirez
                 
                 regarding 
                          Morgan
                                 
                                 and the rational basis standard enunciated
          therein, 
                  which 
                       we 
                          reaffirm as controlling in this circuit.  See 715
          F.2d at 698.
                      The 
                         scope 
                               of 
                                 the 
                                     rational basis test, however, requires
          some clarification.  The Sixth Circuit defends its  rearticulated
          Fourteenth Amendment  standard by  highlighting the  unacceptable
          consequences 
                      that 
                          it 
                             believes would be attendant upon retaining the
          rational 
                  basis standard.  See Wilson-Jones, 99 F.3d at 209 ("If we
          were to  say that an act is valid if it is rationally related  to
          achieving 
                   equal protection of the laws, then S 5 becomes a license
                                        -15-
                                         15

          to Congress to pass any sort of legislation whatsoever.").  We do
          not 
             agree 
                   that 
                       the 
                           rational basis test regarding enforcement of the
          Fourteenth Amendment's equal protection guaranty gives Congress a
          license 
                 to 
                    pass 
                        any 
                            sort 
                                 of legislation whatsoever.  The Fourteenth
          Amendment does not render "every discrimination between groups of
          people a constitutional  denial of equal protection."  Oregon  v.
          Mitchell,  400 U.S.  112,  127  (1970) (opinion  of  Black,  J.).
          Similarly, every congressional action that enlargens the scope of
          a law to encompass a new class of people -- thereby eliminating a
          previous 'discrimination' that the  law had made -- is not,  ipso
          facto, a means  towards enforcing section five of the  Fourteenth
          Amendment, because  that provision does  not "permit Congress  to
          prohibit 
                  every discrimination between groups of people."  Id.  Put
          in a  different fashion,  "'[t]he Fourteenth  Amendment does  not
          profess to secure to all persons in the United States the benefit
          of the same laws and the  same remedies.'"  Holden v. Hardy,  169
          U.S. 366, 388 (1898) (quoting Missouri v. Lewis, 101 U.S. 22,  31
          (1879)).
                      When the Supreme Court first examined the  Fourteenth
          Amendment's 
                     equal 
                          protection guaranty in the Slaughter-House Cases,
          it 
            "suggested that the racial concern exhausted the meaning of the
          clause."  Gerald Gunther, Constitutional Law 601 (12th ed. 1991);
          see 83 U.S. (16 Wall.) 36, 71-72 (1873) (5-4 decision) ("[N]o one
          can fail to be impressed with the one pervading purpose found  in
          [the Reconstruction Amendments], lying at the foundation of each,
                                        -16-
                                         16

          and without which none of them would have been even suggested; we
          mean  the  freedom of  the  slave  race, the  security  and  firm
          establishment 
                       of 
                         that 
                              freedom, and the protection of the newly-made
          freeman 
                 and 
                     citizen from the oppressions of those who had formerly
          exercised 
                   unlimited 
                            dominion over him. . . . [I]n any fair and just
          construction of any section or phrase of these amendments, it  is
          necessary to look to  the purpose which .  . . was the  pervading
          spirit of them  all, [and] the evil  which they were designed  to
          remedy.").
                      The Court  has  since  moved away  from  this  narrow
          conception of the  Fourteenth Amendment.   The Supreme Court  has
          struck down state statutes under the Equal Protection Clause that
          did 
             not 
                 classify 
                         or 
                            'discriminate' on the basis of race, but rather
          on  some  other  impermissible  basis,  such  as  sex,  alienage,
          illegitimacy,  indigency, criminal  conviction,  or  unreasonable
          arbitrariness. 
                         
                        See
                           , 
                             e.g.
                                 , Mitchell, 400 U.S. at 150-52 (opinion of
          Douglas, 
                  J.) 
                      (collecting cases); New York Transit Auth. v. Beazer,
          440 
             U.S. 
                  568, 592 n.39 (1979) ("'[L]egislative classifications are
          valid unless they  bear no rational  relationship to the  State's
          objectives.'"
                      ) (quoting Massachusetts Bd. of Retirement v. Murgia,
          427 U.S. 307, 314 (1976) (per curiam)); Smith v. Cahoon, 283 U.S.
          553, 566-67  (1931) (unanimous  decision) ("[T]he  constitutional
          guaranty of equal  protection of the  laws is interposed  against
          discriminatio
                      ns that are entirely arbitrary.") Gulf, Colo. &amp; Santa
          Fe Ry. Co. v. Ellis, 165 U.S. 150, 165-66 (1897) (explaining that
                                        -17-
                                         17

          "the mere fact of classification" in legislation does not violate
          the equal protection guaranty,  but "a mere arbitrary  selection"
          does); 
                Atchison, 
                         Topeka 
                                &amp; Santa Fe Ry. Co. v. Vosburg, 238 U.S. 56,
          62 (1915) (same).
                      The scope and thrust of such decisions indicate  that
          Equal  Protection  jurisprudence  is  not  narrowly  confined  to
          traditional 
                     suspect or quasi-suspect classifications.  Whereas, as
          is 
            well-known, classifications aimed at "suspect" classes or those
          aimed at "fundamental" interests must pass strict scrutiny,  see,
          e.g.
             , 
               Loving
                      
                     v. 
                        Virginia
                                ,
                                  388 U.S. 1, 11-12 (1967), or, in the case
          of sex discrimination, intermediate  review, see, e.g., Craig  v.
          Boren, 429  U.S.  190,  197-99 (1976),  more  mundane  government
          classifications that do  not target such groups or interests  are
          subject  only  to   more  deferential   rational  basis   review.
          Accordingly, government legislation or  action "[i]n the area  of
          economics 
                   and social welfare does not violate the Equal Protection
          Clause  merely  because   the  classifications  [it  makes]   are
          imperfect," Dandridge  v.  Williams, 397  U.S. 471,  485  (1970),
          because 
                 "[i]t is no requirement of equal protection that all evils
          of the same genus be eradicated or none at all."  Railway Express
          Agency, Inc. v. New York, 336 U.S. 106, 110 (1949).  Instead,  in
          this 
              subset 
                     of 
                       concerns, 
                                 the Equal Protection Clause requires "that
          cities, states  and the  Federal Government  must exercise  their
          powers so as not to discriminate between their inhabitants except
          upon some reasonable differentiation fairly related to the object
                                        -18-
                                         18

          of regulation."   Id. at 112  (Jackson, J., concurring).   Viewed
          against this backdrop, "[e]qual protection of the laws means that
          'no 
             person 
                    or class of persons shall be denied the same protection
          of the laws which is enjoyed by other persons or other classes in
          the  same  place  and  under  like  circumstances.'"    Walsh  v.
          Massachusetts, 618 F.2d 156, 158 (1st Cir. 1980) (emphasis added)
          (quoting Lewis, 101 U.S. at 31).  
                      Supreme Court precedent,  however, does not  narrowly
          limit 
               congressional 
                            power to enforce the Equal Protection Clause to
          what the Clause itself  prohibits.  The Court has explained  that
          legislation enacted pursuant to section five "would be upheld  so
          long 
              as 
                 the 
                    Court 
                          could 
                                find that the enactment 'is plainly adapted
          to 
            [the] 
                  end' of enforcing the Equal Protection Clause and 'is not
          prohibited by but is consistent with the letter and spirit of the
          constitution,' regardless of  whether the  practices outlawed  by
          Congress 
                  in 
                    themselves 
                               violated the Equal Protection Clause."  City
          of 
            Rome 
                 v. 
                    United 
                          States
                                ,
                                  446 U.S. 156, 176 (1980) (quoting Morgan,
          384 U.S. at 651).  Accordingly, we have previously explained that
          it is "irrelevant whether the activities which Congress seeks  to
          forbid 
                by 
                   legislation are themselves unconstitutional either under
          the  Equal Protection  Clause or  under other  provisions of  the
          Fourteenth Amendment,  for Congress'  reach under  the Civil  War
          Amendments has been  enlarged in order  to make these  accretions
          fully effective."  Ramirez, 715 F.2d at 698 (citing City of Rome,
          446 U.S. at 179; Morgan, 384 U.S. at 648-49).
                                        -19-
                                         19

                      In 
                        the 
                            instant case, it would be difficult to conclude
          that  the  probation officers  constitute  "a  class  of  persons
          characterized by some unpopular trait or affiliation . . .  [that
          would] 
                reflect 
                       any 
                           special likelihood of bias [against them] on the
          part of the ruling majority."  Beazer, 440 U.S. at 593.  In other
          words, the state employees  are neither a "suspect class" nor  do
          they allege a state infringement of a "fundamental interest,"  as
          those   terms  have   been   defined  in   Fourteenth   Amendment
          jurisprudence.  Insofar as  any congressional enforcement of  the
          Equal 
               Protection Clause concerns the plaintiff probation officers,
          therefore, 
                    it would be as against unreasonable and arbitrary state
          action.  To be a legitimate expression of Congress' section  five
          power to  enforce the Fourteenth  Amendment, therefore, the  1974
          amendments at issue in this case, which extended the FLSA's  wage
          and  hour provisions to  states and state  employees, have to  be
          "rational 
                   means" towards the end "comprehended" in this context by
          the 
             Equal 
                   Protection Clause, South Carolina, 383 U.S. at 324, 326,
          namely,  the   guaranty  against   "irrational,"  and   therefore
          "unjustified," government action.  Ramirez, 715 F.2d at 699.  
                      The  relevant  Supreme   Court  precedents  we   have
          considered above indicate that Congress, when acting pursuant  to
          section five of  the Fourteenth Amendment,  can prohibit or  take
          measures  designed   to   remedy   unreasonable   and   arbitrary
          classifications  made   by  states,  or   the  effects  of   such
          classifications, and when doing so can, consistent with  Seminole
                                        -20-
                                         20

          Tribe, abrogate the states' sovereign immunity to suit in federal
          court.   Conversely,  these  precedents indicate  that  Congress'
          section five  enforcement  power, as  it  pertains to  the  Equal
          Protection Clause in cases not involving suspect or quasi-suspect
          classes 
                 or 
                    fundamental interests, is limited to the elimination of
          arbitrariness or the effects of arbitrary government action,  and
          does 
              not 
                  permit 
                        Congress 
                                 to prohibit or otherwise target reasonable
          state decisions or practices.  We believe that this limitation on
          Congress' 
                   power 
                        to 
                           enforce the Equal Protection Clause follows from
          the end that the Clause comprehends in this specific context  and
          the corollary fact that the Fourteenth Amendment does not  render
          "every discrimination between  groups of people a  constitutional
          denial 
                of 
                  equal 
                        protection."  Mitchell, 400 U.S. at 127 (opinion of
          Black, 
                J.). 
                      
                      To reiterate, the cases discussed above indicate that
          every congressional action that  enlargens the scope of a law  to
          encompass a new class of people -- thereby eliminating a previous
          'discrimination' that the law had  made -- is not, ipso facto,  a
          means of enforcing the Fourteenth Amendment because section  five
          does 
              not 
                  "permit Congress to prohibit every discrimination between
          groups of people."  Id.
                      We evaluate the FLSA amendments at issue against this
          framework to determine whether,  in addition to being  enactments
          made pursuant to  Congress' Commerce Clause  powers, they can  be
          viewed  appropriately as  legislation  that  enforces  the  Equal
          Protection 
                    Clause. 
                             
                            In 
                               our estimation, one would be hard-pressed to
                                        -21-
                                         21

          conclude that the  FLSA amendments at  issue here are  rationally
          related 
                 to 
                    eliminating any arbitrary or unreasonable state action.
          Differences in  the manner, method,  and amount  of payment  that
          private sector and  state employees receive,  to the extent  they
          exist, usually  flow from a  myriad of  factors, including  state
          budgetary concerns  and  the  levels of  public  expenditure  and
          taxation deemed proper by  normal political processes.   However,
          nothing  in  the record  indicates  that  anything  arbitrary  or
          irrational 
                    explains or characterizes the states' practices in this
          area 
              to 
                 the 
                    extent 
                           they 
                                may be prejudicial to state employees.  Nor
          do we  think, as the plaintiff  probation officers would have  us
          believe, that state employees and private sector employees are so
          similarly situated that  differences in how and when they  accrue
          premium pay for overtime  violates the Equal Protection  Clause's
          requirement that "'no person or class of persons shall be  denied
          the same protection of the laws which is enjoyed by other persons
          or 
            other 
                  classes in the same place and under like circumstances.'"
          Walsh
              , 
                618 
                    F.2d 
                        at 
                           158 
                               (emphasis added) (quoting Lewis, 101 U.S. at
          31); 
              see
                 , 
                   e.g
                      ., Employees, 411 U.S. at 286 (noting the significant
          difference 
                    between private employers and states as employers owing
          to 
            federalism 
                      concerns). 
                                  Accordingly, we conclude that we will not
          "attribute  to Congress  an  unstated  intent to  act  under  its
          authority 
                   to 
                      enforce 
                             the 
                                 Fourteenth Amendment," Pennhurst, 451 U.S.
          at 16, because on the record before us there is no evidence  that
          the 
             1974 
                  FLSA amendments are rationally related to the elimination
                                        -22-
                                         22

          of any unreasonable and arbitrary state action, or the effects of
          such action, which  Congress is empowered  to remedy pursuant  to
          section 
                 five 
                      of the Fourteenth Amendment.  Thus, we do not believe
          that Congress can, consistent with Seminole Tribe and Fitzpatrick
          v. Bitzer,  abrogate the states'  sovereign immunity  to suit  in
          federal court in this context. 
                      In arriving at this conclusion, our analysis does not
          suggest  any  reason  or  need for  us  to  revisit  our  earlier
          pronouncements 
                        regarding 
                                 the FLSA wage and hour provisions at issue
          here.  Specifically, we have previously determined that Congress'
          "authority" to  impose on  the states  the FLSA's  wage and  hour
          requirements was "squarely bottomed on the commerce clause."  New
          Hampshire Dep't of Employment Sec. v. Marshall, 616 F.2d 240, 247
          (1st  Cir.  1980).   In  so doing,  we  indicated that  the  FLSA
          provisions  at  issue  here  differed  from  other  congressional
          legislation, like  the Equal Pay  Act, which,  we explained,  was
          applied "to the states as a legitimate exercise of  congressional
          authority 
                   to 
                     adopt 
                           legislation enforcing the fourteenth amendment's
          guaranty of equal protection of  the law."  Id. (citing Usery  v.
          Charlestown City Sch. Dist., 558 F.2d 1169 (4th Cir. 1977); Usery
          v. All egheny County  Institution Dist.,  544 F.2d  148 (3d  Cir.
          1976)).  Today we state the corollary that we did not  explicitly
          state 
               in 
                  so 
                     many words in Marshall:  whatever constitutional basis
          they may have in the Commerce Clause, the 1974 amendments to  the
          FLSA in dispute again here did not apply the Act's wage and  hour
                                        -23-
                                         23

          provisions  to the  states and  state employees  as a  legitimate
          exercise of congressional  authority to  adopt legislation  under
          section five of the Fourteenth Amendment. 
                      This conclusion, of course, is fatal to the plaintiff
          probation officers' argument on appeal because in Seminole Tribe,
          see 116 S. Ct. at  1131-32, the Supreme Court held that  Congress
          cannot exercise  its Commerce Clause power,  or any of its  other
          Article 
                 I 
                   powers, 
                          to 
                             abrogate a state's Eleventh Amendment immunity
          from 
              suit 
                   in 
                     federal 
                             court, thereby overruling the contrary rule of
          Union Gas.  See 491 U.S. at 15 (plurality opinion).  
                      The force  of the above  line of  reasoning helps  to
          explain  why every  post-Seminole  Tribe federal  district  court
          decision of which we are aware has dismissed private FLSA actions
          for 
             lack 
                  of 
                    subject 
                            matter jurisdiction, even if the reasons stated
          were summary or did not always squarely address the section five,
          Fourteenth Amendment argument  that we reject  here today.   See,
          e.g.
             , 
               Raper
                     
                     v. 
                       Iowa
                           , 
                             940 
                                 F. Supp. 1421 (S.D. Iowa 1996) (dismissing
          case and  rejecting  Fourteenth Amendment  theory of  the  FLSA);
          Chauvin
                 
                 v. 
                    Louisiana
                            , 
                              937 F. Supp. 567, 570 (E.D. La. 1996) (same);
          Powell
                
                v. 
                   Florida
                         , 
                           No. 
                               95-6233-CIV-ZLOCH (S.D. Fla. August 6, 1996)
          (same); Walden v. Florida  Dep't of Corrections, TCA  95-40357-WS
          (N.D. Fla. June 23,  1996) (same); Moad v. Arkansas State  Police
          Dep't, No. LR-C-94-450, 1996 WL 819805 (E.D. Ark. May 15,  1996),
          aff'd 
               by 
                  Moad
                       v. Arkansas State Police Dep't, No. 96-2594, 1997 WL
          177392 (8th Cir.  April 15, 1997) (declining to consider  whether
                                        -24-
                                         24

          FLSA 
              could 
                    have 
                        been 
                             enacted under Fourteenth Amendment where issue
          was 
             not 
                 raised 
                       in 
                          district court and raised on appeal only in reply
          brief); 
                 Bergemann
                          
                          v. 
                             Rhod
                                 e Island, No. CA 95-579ML, 1997 WL 102428,
          (D.R.I.  Mar.  5,  1997)  (dismissing  case  but  not  addressing
          Fourteenth Amendment theory); Close v. New York, No.  94-CV-0906,
          1996  WL 481550  (N.D.N.Y.  August  19, 1996)  (same);  Arndt  v.
          Wisconsin 
                   Dep't 
                        of 
                           Corrections, No. 95-C-937-C (W.D. Wisc. June 20,
          1996) (same); Stuhr v.  Oregon, No. 95-6118-TC (D. Ore. June  17,
          1996) (same); Ross v. Middle Tenn. St. Univ., No. 3-95-1203 (M.D.
          Tenn. [n.d.] 1996) (same).  
                      In sum, we see no reason to doubt the correctness  of
          these results, the Sixth Circuit's result in Wilson-Jones, see 99
          F.3d at  211, or  the conclusions of  commentators who view  with
          skepticism post-Seminole attempts to rescue private FLSA  actions
          against states by recourse to arguments about section five of the
          Fourteenth Amendment.  See, e.g., Daniel J. Meltzer, The Seminole
          Decision and State Sovereign Immunity, 1996 Sup. Ct. Rev. 1, 49 &amp;
          n.230 
               (noting 
                       that 
                           the 
                               merits of the section five "strategy," while
          varying with different statutes, "would be hard to execute as  to
          the 
             Fair 
                  Labor Standards Act," in part because it is doubtful that
          "the Supreme Court would accept an argument that would so sharply
          limit the effective scope of Seminole").
                         The Retroactivity of Seminole Tribe
                      Having 
                            concluded that Seminole Tribe controls, we next
          consider whether we  should apply it retroactively to this  case,
                                        -25-
                                         25

          which was properly  pending in federal  court before the  Supreme
          Court overruled Union Gas.  The plaintiff probation officers  ask
          that in the event we do not agree with their section five,  equal
          protection 
                    argument, we refrain from dismissing their federal suit
          by  applying the  equitable  standards  articulated  in  Northern
          Pipeline 
                  Constr. 
                         Co. 
                             v. 
                                M
                                 arathon Pipe Line Co., 458 U.S. 50 (1982),
          and Che vron Oil  v. Huson,  404  U.S. 97  (1971).   Those  cases
          articulated a three-pronged analysis  that seeks to minimize  the
          "visit[ation of] substantial  injustice and  hardship upon  those
          litigants who  relied" upon  a congressional  statute's grant  of
          jurisdiction.   Marathon  Pipe Line,  458 U.S.  at 88  (plurality
          opinion) (Brennan, J.) (construing Huson). 
                      There are  several  difficulties with  the  probation
          officers' argument.  First, the Supreme Court in recent years has
          largely rejected the pertinent propositions in both Marathon Pipe
          Line and Huson.  See  Reynoldsville Casket Co. v. Hyde, 514  U.S.
          749, 
              752 
                  (1995) (describing Huson as having been overruled in part
          as  stated by  Harper v.  Virginia Dep't  of Tax'n,  509 U.S.  86
          (1993)).    Second,  subject  matter  jurisdiction  and  Eleventh
          Amendment 
                   immunity can be raised at any time, and when raised, the
          issue 
               is 
                  not 
                     whether 
                             the 
                                 court had jurisdiction at some time in the
          past, 
               but 
                   whether 
                          the 
                              court today still has jurisdiction.  Thus, in
          a decision that  postdates the two  largely discredited cases  on
          which the  state employees in this  dispute so heavily rely,  the
          Supreme Court has  emphasized that "'a court lacks discretion  to
                                        -26-
                                         26

          consider  the  merits  of  a  case  over  which  it  is   without
          jurisdiction,
                       and thus, by definition, a jurisdictional ruling may
          never be made prospective only.'"  Budinich v. Becton Dickinson &amp;
          Co., 486  U.S.  196,  203 (1988)  (unanimous  decision)  (quoting
          Firestone Tire  &amp; Rubber  Co. v.  Risjord, 449  U.S. 368,  379-80
          (1981)). 
                   
                   Finally, the probation officers' request contravenes our
          own recent pronouncement on this issue.  See Stella v. Kelley, 63
          F.3d 
              71, 
                  74 
                    (1st 
                         Cir. 
                              1995) ("When dealing with matters that govern
          a 
           court's 
                   jurisdiction, there is no conceivable bar to retroactive
          application of a 'new,' judicially declared rule.").
                     The Denial of Plaintiffs' Discovery Request
                      We 
                        next 
                             consider the probation officers' argument that
          the district  court improperly  denied their  request to  conduct
          discovery on whether Maine waived its Eleventh Amendment immunity
          by voluntarily participating in a federal program that  expressly
          conditions state participation upon a state's consent to suit  in
          federal  court.  We  review a district  court's decision to  deny
          discovery on a dispositive  motion for abuse of discretion.   See
          Fennell v. First Step Designs,  Ltd., 83 F.3d 526, 530 (1st  Cir.
          1996) (interpreting Fed. R. Civ. P. 56(f)).
                      The 
                         probation 
                                  officers 
                                           argue that a state is subject to
          suit in federal court where it has waived its Eleventh  Amendment
          sovereign 
                   immunity, 
                            either expressly or implicitly by participating
          in a federal program conditioned on a state's consent to suit  in
          federal court.  See  Atascadero State Hosp. v. Scanlon, 473  U.S.
                                        -27-
                                         27

          234, 
              241 
                  (1985).  The probation officers also argue that litigants
          are generally afforded the right to undertake discovery when they
          are faced with a jurisdictional bar.  See Gould, Inc. v. Pechiney
          Uguine Kuhlmann, 853 F.2d 445, 451 (6th Cir. 1988); Majd-Pour  v.
          Georgiana 
                   Community Hosp. Inc., 724 F.2d 901, 903 (11th Cir. 1984)
          ("Although the plaintiff bears the burden of proving the  court's
          jurisdiction, the  plaintiff should be  given the opportunity  to
          discover   facts  that   would   support   his   allegations   of
          jurisdiction.").
                      Maine  law   authorizes  the   Maine  Department   of
          Corrections to receive federal funds "to carry out federal  law."
          See
             
             Me. 
                 Rev. 
                     Stat. 
                           Ann. 
                                tit. 34-A, SS 1403(4), 1209(2)(B) &amp; (4)(F).
          The probation officers contend that these statutes, even standing
          alone, support  a finding  that Maine  has voluntarily  subjected
          itself to federal court jurisdiction in lawsuits brought pursuant
          to 
            the 
                FLSA. 
                       
                      At 
                         the 
                             very least, they contend, they should have the
          opportunity to undertake  discovery on  Maine's participation  in
          federal programs because the State controls the information about
          the federal programs in which it actually participates.
                      In evaluating the  merits of the probation  officers'
          argument on this point, we  begin by noting that "[t]he test  for
          determining whether a State has waived its immunity from federal-
          court jurisdiction is a stringent one."  Atascadero, 473 U.S.  at
          241. 
               
               We 
                  have had previous occasion to explain that "a waiver must
          be unambiguously  manifested, and because  of that requirement  a
                                        -28-
                                         28

          state's 
                 mere 
                     participation in a federal program . . . has been held
          insufficient to  demonstrate a state's  waiver of its  immunity."
          WJM, Inc. v. Massachusetts  Dep't of Pub. Welfare, 840 F.2d  996,
          1002 (1st Cir. 1988) (citing Atascadero, 473 U.S. at 244-46).3 
                      Courts that have  considered the  waiver theory  have
          confronted plaintiffs  who at least  had identified some  federal
          program or  statute that supposedly  required a  waiver of  state
          immunity as  a condition for  state participation  or receipt  of
          federal money.   Cf. Manypenny v.  United States, 948 F.2d  1057,
          1066-67 (8th  Cir. 1991)  (plaintiffs identify  White Earth  Land
          Settlement 
                    Act); Yorktown Med. Lab., Inc. v. Perales, 948 F.2d 84,
          88 (2d Cir.  1991) (plaintiff identifies  Boren Amendment to  the
          Medicaid Act).  But cf. Baxter v. Vigo County Sch. Corp., 26 F.3d
          728,  731-32 (7th  Cir. 1994)  (plaintiffs fail  to name  federal
          program 
                 or 
                    statute). 
                              
                              The plaintiffs in this case want to undertake
          discovery  to  identify  the  federal  programs  in  which  Maine
          participates.  In other words, Maine argues, the plaintiffs  "not
          only want to conduct  a fishing expedition, they want to  conduct
          discovery in  order to locate  the lake in  which to conduct  the
          fishing expedition."  We  believe that this assessment,  whatever
          else it may be, sufficiently describes the situation  confronting
            3.  While our subsequent decision in Reopell v.
            Massachusetts, 936 F.2d 12, 15 (1st Cir. 1991) reversed one
            of WJM's holdings regarding prejudgment interest in light of
            the Supreme Court's intervening decision in Missouri v.
            Jenkins, 491 U.S. 274 (1989), we note that the proposition
            for which we cite WJM remains intact.       
                                        -29-
                                         29

          us, and on these facts we cannot conclude, particularly given the
          stringent waiver standard articulated in Atascadero and WJM, that
          the  district court  abused its  discretion in  deciding to  deny
          discovery 
                   on 
                      the plaintiffs' motion.  See Fennell, 83 F.3d at 530.
                              The State Transfer Issue
                      We  next  consider  the  appellants'  argument  that,
          assuming 
                  Seminole 
                          Tribe
                                
                                precludes federal jurisdiction in this FLSA
          action, the district court  improperly dismissed the case  rather
          than transfer it  to state court.   Whether a district court  had
          authority to transfer a case to a state court is a legal question
          we 
            review 
                   de
                      
                      novo.  See Industrial Gen. Corp. v. Sequoia Pac. Sys.
          Corp.
              , 
                44 
                   F.3d 40, 43 (1st Cir. 1995).  Whether the district court
          should have exercised its authority to transfer a case to another
          court 
               is 
                  a 
                   question 
                            we 
                               review for abuse of discretion.  See Service
          Employees Int'l Union v. Local  1199 N.E., 70 F.3d 647, 655  (1st
          Cir. 1995).
                      The probation officers' argument is flawed in several
          respects. 
                    
                    First, 
                          the 
                              Federal Rules of Civil Procedure mandate that
          a  federal  court  that   determines  it  lacks  subject   matter
          jurisdiction has  only one  course  of action  left open  to  it:
          "Whenever 
                   it 
                      appears 
                             by 
                                suggestion of the parties or otherwise that
          the 
             court 
                  lacks 
                        jurisdiction of the subject matter, the court shall
          dismiss the action."  Fed. R. Civ. P. 12(h)(3) (emphasis added). 
                      Second, the probation officers' request runs afoul of
          earlier 
                 pronouncements 
                               from this and other circuits.  See Dantes v.
                                        -30-
                                         30

          Western Found. Corp., 614 F.2d 299, 301 (1st Cir. 1980) ("'Where,
          as here, the court lacks jurisdiction over the subject matter . .
          . [a defect] which precludes it from acting at all, a fortiori, a
          court lacks power to transfer.'") (quoting Atlantic Ship  Rigging
          Co. v.  McLellan, 288 F.2d  589, 591 (3rd  Cir. 1961) and  citing
          Panhandle E.  Pipeline Co. v.  FPC, 343 F.2d  905, 908 (8th  Cir.
          1965)); Klett v. Pim, 965 F.2d 587, 591 n.7 (8th Cir. 1992) ("[A]
          court 
               without 
                      subject 
                              matter jurisdiction cannot transfer a case to
          another court.").
                      Third, the probation  officers overlook  28 U.S.C.  S
          1631, which limits a federal court's power to transfer a case "to
          any other such court" defined in 28 U.S.C. S 610, which, in turn,
          includes 
                  only 
                      other 
                            federal courts.  See Moravian Sch. Advisory Bd.
          v. Rawlins, 70 F.3d 270, 274 (3d Cir. 1995) (citing McLaughlin v.
          ARCO Polymers, Inc., 721 F.2d 426, 469 (3rd Cir. 1983)). 
                      Finally, 
                              we 
                                 are unpersuaded by the probation officers'
          reliance on a Third Circuit decision, Weaver v. Marine Bank,  683
          F.2d 
              744 
                  (3rd Cir. 1982).  In Weaver, the Third Circuit confronted
          an arguably similar situation in which plaintiffs had  originally
          filed their claim in  federal court believing that the court  had
          subject matter  jurisdiction under federal  securities law.   The
          Supreme Court subsequently ruled that the plaintiffs had no  such
          claim.  See Weaver v. Marine Bank, 455 U.S. 551, 559 (1982).   On
          remand, there  was no other federal  question upon which to  base
          jurisdiction, diversity was lacking, and the Third Circuit  faced
                                        -31-
                                         31

          the 
             possibility 
                         that 
                             the 
                                 plaintiffs' cause of action in state court
          would be  time-barred.  See 683 F.2d  at 745-46.  In this set  of
          circumstances
                      , the Third Circuit took the step of transferring the
          matter 
                to 
                   state court pursuant to a Pennsylvania enabling statute.
          See id. at 748. 
                      Maine  does  not have  a  statute  identical  to  the
          Pennsylvania law  upon which the  Third Circuit  relied, but  the
          probation officers indicate that Maine has a savings statute that
          permits cases  to be  transferred to  the proper  court when  the
          original action fails "for any  matter of form."  Me. Rev.  Stat.
          Ann. 
              tit. 
                   14, 
                       S 
                        855. 
                              
                              The probation officers argue that the savings
          statute should  be read to  permit transfer of  an action from  a
          federal district court to a state court. 
                       We 
                         believe 
                                this 
                                     argument underestimates the importance
          that the  Third Circuit  attached  to the  unique nature  of  the
          Pennsylvania 
                      statute 
                             on 
                                which it relied in transferring the case to
          state 
               court. 
                       
                      The 
                          Third 
                                Circuit explained that this statute, on its
          face, 
               expressed "Pennsylvania's willingness to accept jurisdiction
          over cases  improvidently  brought in  the federal  courts,"  and
          specifically 
                      "provide[d 
                                both] that a federal court within the state
          may 
             transfer 
                     erroneously 
                                 filed cases to the state courts," and that
          matters  transferred under  the statute's  provisions "'shall  be
          treated 
                 . 
                   . 
                     . as if originally filed in the transferee court . . .
          on the date first filed in a [federal] court.'"  683 F.2d at 748,
          745, 746 (quoting 42 Pa. Cons. Stat. S 5103(a)). 
                                        -32-
                                         32

                      In transferring the case, the Third Circuit explained
          that 
              it 
                 had 
                    the 
                        authority to do so as a result of this specifically
          worded 
                Pennsylvania 
                            statute and its "underlying" power as a federal
          court 
               "to 
                   elect to use such a state mechanism, if available."  Id.
          at 
            747. 
                  
                  In 
                     this regard, the Third Circuit analogized the transfer
          to a situation in which  a federal court certifies a question  of
          doubtful 
                  state 
                        law 
                           to 
                              a 
                                state supreme court authorized by state law
          to accept  it, and  noted  that the  Supreme Court  had  approved
          certification, despite a lack of federal statutory  authorization
          for the practice, because it "'helps build a cooperative judicial
          federalism.'"  Id. (quoting Lehman Bros. v. Schein, 416 U.S. 386,
          391 (1974)). 
                      The Pennsylvania enabling  statute that rests at  the
          heart of Weaver bears no resemblance to the Maine general savings
          statute in this case from which the appellants seek succor.   See
          Me. Rev.  Stat. Ann. tit. 14, S 855.  The Maine statute makes  no
          mention 
                 of 
                    transfer and only permits a re-filing in state court of
          a case that  has been  "defeated for any  matter of  form."   Id.
          Neither the parties' nor our own research has uncovered any Maine
          caselaw 
                 that 
                     addresses 
                               whether this description would encompass the
          case at bar as a matter of state law.  We note,  however, that on
          our  reading  of the  statute  we  glean no  manifestation  of  a
          willingness 
                     on the part of the State of Maine analogous to that of
          the 
             Commonwealth of Pennsylvania to accept jurisdiction over cases
          improvidently 
                       filed 
                            in 
                               federal court with relation back to the time
                                        -33-
                                         33

          of 
            the 
                filing of the case in federal court.  The importance of the
          Pennsylvania 
                      statute and its specialized provisions to the outcome
          in Weaver  is evident when one  considers that the Third  Circuit
          subsequently  has  explicitly  stated  that  "[a]bsent  statutory
          authority,  the traditional  general rule  that a  court may  not
          transfer a  matter  over which  it lacks  jurisdiction  governs."
          Shendock v. Director, Office of Workers' Comp. Programs, 893 F.2d
          1458,      1467      (3rd     Cir.     1990)     (en      banc). 
                      While 
                           we 
                              express 
                                     no 
                                        view 
                                             on the question of whether the
          Third Circuit's  analysis in Weaver  warrants our agreement,4  we
          believe that there can be no question that, in the absence of any
          specialized state statute, "it is the duty of the trial court, if
          it finds that jurisdiction does not exist, to proceed no  further
          but to  dismiss the suit."  Joy v. Hague, 175 F.2d 395, 396  (1st
          Cir. 1949)  (emphasis  added) (citing  McNutt v.  General  Motors
          Acceptance Corp., 298 U.S. 178, 182 (1936)). 
            4.  We note, however, that we have previously rejected as
            "unpersuasive" decisions from other circuits that "stand for
            the proposition that a court bereft of jurisdiction has an
            'inherent power' to transfer" a case.  Dantes, 614 F.3d at
            301 n.2 (criticizing Pearce v. Director, Office of Workers'
            Comp. Programs, 603 F.2d 763, 771 (9th Cir. 1979) and Dayton
            Power &amp; Light Co. v. EPA, 520 F.2d 703, 708 (6th Cir. 1975));
            see also Natural Resources Defense Council, Inc. v. EPA, 465
            F.2d 492, 495-96 (1st Cir. 1972) (per curiam) (granting
            motion to transfer case to the District of Columbia Circuit
            on basis of express statutory authority, but declining to
            reach issue of whether federal court has an inherent power to
            transfer case to a transferee court having jurisdiction and
            venue). 
                                        -34-
                                         34

                The Motion to Amend The Complaint and Ex parte Young
                      On the eve  of oral argument  before this court,  the
          plaintiffs-appellants  filed an  unusual  motion to  amend  their
          complaint to add the  Maine Commissioner of Corrections as a  new
          party 
               defendant.  This motion constitutes an eleventh hour attempt
          by plaintiffs to bring their case under the aegis of the doctrine
          of Ex parte Young, 209 U.S. 123 (1908), and thereby overcome  the
          Eleventh 
                  Amendment bar to their FLSA action.  For the reasons that
          follow, we deny the motion.
                      Although  not  the  routine,  appellate  courts  have
          authority 
                   to 
                      allow amendments to complaints because "'[t]here is .
          . . in the nature of . . . appellate jurisdiction, nothing  which
          forbids the  granting  of amendments.'"   Newman-Green,  Inc.  v.
          Alfonzo-Larra
                      in, 490 U.S. 826, 834 (1989) (quoting Anonymous, 1 F.
          Cas.  996,  997  (C.C. Mass.  1812)  (No.  444)  (Story,  Circuit
          Justice)).  This feature of appellate court power "long  predates
          the enactment  of the Federal Rules,"  and stems from common  law
          practice, 
                   which 
                        "permitted 'the superior court . . . [to] make such
          amendments, as the court below may.'"  Newman-Green, 490 U.S.  at
          834  (quoting Anonymous,  1  F. Cas.  at  997) (quoting  King  v.
          Ponsonby, 1 Wils.  303, 95 Eng.  Rep. 631 (K.B.  1751)).  See  28
          U.S.C. S  1653  ("Defective allegations  of jurisdiction  may  be
          amended, upon terms, in the trial or appellate courts."). 
                      The 
                         plaintiff probation officers' argument in favor of
          their 
               motion 
                      rests on three arguments.  The first is the amendment
                                        -35-
                                         35

          authorization contained in 28 U.S.C.  S 1653.  The second is  the
          doctrine of Ex parte Young, which allows plaintiffs to avoid  the
          Eleventh Amendment bar by naming a state officer in his  official
          capacity in cases  where prospective  declaratory and  injunctive
          relief is  sought under federal  law.  The  third is the  liberal
          standard of Rule 15(a)  of the Federal Rules of Civil  Procedure,
          which, in relevant part, provides:
                    A 
                     party 
                           may 
                               amend the party's pleading once as
                    a matter  of  course  at any  time  before  a
                    responsive  pleading  is  served  .  .  .   .
                    Otherwise  a  party  may  amend  the  party's
                    pleading only by leave of court or by written
                    consent of the adverse party; and leave shall
                    be freely given when justice so requires.
          Fed. R. Civ. P. 15(a) (emphasis added). 
                      While intriguing at  first glance, closer  inspection
          reveals that the plaintiffs-appellants' argument runs aground  at
          each 
              juncture. 
                         
                        In 
                           the 
                               first place, 28 U.S.C. S 1653 does not allow
          what the  probation  officers seek  here.   Section  1653  allows
          amendments to  cure  "[d]efective allegations  of  jurisdiction."
          (emphasis added).    This statutory  language "suggests  that  it
          addresses  only  incorrect  statements  about  jurisdiction  that
          actually exists,  and  not defects  in the  jurisdictional  facts
          themselves."  Newman-Green,  490 U.S. at 831.  Specifically,  the
          Newman-Green  Court  refused   to  interpret   section  1653   as
          "empower[ing]
                       federal courts to amend a complaint so as to produce
          jurisdiction where none actually existed before."  Id.
                                        -36-
                                         36

                      The 
                         Newman-Green
                                     
                                     Court's 
                                             interpretation of section 1653
          thus precludes the amendment that the probation officers  desire.
          The 
             unequivocal rule of Newman-Green is that section 1653 does not
          authorize 
                   the 
                      addition 
                               or elimination of parties in order to create
          jurisdiction where jurisdiction does not exist.  See Newman-Green
          at  830-31.   This rule  is fatal  to the  plaintiffs-appellants'
          argument because this is  exactly the relief they seek in  asking
          that their  complaint be amended  by adding  the Commissioner  of
          Corrections as a new party defendant.
                      Moreover, 
                               we 
                                 reiterate 
                                           our view that, where a party has
          had an opportunity to seek to amend its pleadings in the district
          court, 
                it 
                   is 
                     not 
                         appropriate for that party belatedly to seek leave
          to 
            amend 
                  on 
                    appeal 
                           pursuant to 28 U.S.C. S 1653.  See Joy, 175 F.2d
          at 396.  Accord Sarnoff v. American  Home Prods. Corp., 798  F.2d
          1075, 1079 (7th  Cir. 1986).  The  appellants here, like the  Joy
          appellants, "having refused to amend" before the district  court,
          "come 
               to 
                  this 
                      court 
                            asking leave to do what they failed to do below
          and attempt to create an error  upon the part of the trial  court
          because 
                 of 
                    matter never before that court."  Joy, 175 F.2d at 396.
          After 
               the 
                   Supreme 
                          Court 
                                handed down its decision in Seminole Tribe,
          and 
             certainly after the State of Maine filed its motion to dismiss
          for lack of subject matter jurisdiction based upon the ruling  of
          Seminole  Tribe,  the probation  officers  had  every  reason  to
          "suspect[] a jurisdictional difficulty" with their case, but took
          "no 
             reasonable 
                       opportunity to cure it before the appeal."  Sarnoff,
                                        -37-
                                         37

          798 
             F.2d 
                  at 
                     1079. 
                           
                           Under 
                                 these circumstances, we believe it is only
          fair and  reasonable to conclude  that the  appellants "had  fair
          warning in the district court and failed to act on it; enough  is
          enough."  Id. 
                      Furthermore, 
                                  the 
                                     proposed amendment is a futile attempt
          to bring  this case under the ambit of Ex parte Young.  The  only
          relief that the plaintiffs have sought in this case, prior to the
          filing 
                of 
                   their 
                        proposed 
                                 amendment on appeal, has been unpaid wages
          and 
             liquidated 
                       damages 
                               under the FLSA.  Ex parte Young allows a way
          around the  bar to federal  jurisdiction erected  by the  Supreme
          Court's  Eleventh Amendment  jurisprudence  only in  cases  where
          prospective  declaratory or  injunctive  relief is  sought  under
          federal 
                 law. 
                       See Seminole Tribe, 116 S. Ct. at 1132 ("[S]ince our
          decision  in  Ex  parte  Young,  we  often  have  found   federal
          jurisdiction over a suit against a state official when that  suit
          seeks only  prospective  injunctive relief  in  order to  'end  a
          continuing 
                    violation 
                             of 
                                federal law.'") (internal citation omitted)
          (quoting Mansour, 474 U.S. at  68).  The Ex parte Young  doctrine
          does not apply in cases where plaintiffs seek monetary relief for
          past 
              violations 
                        of 
                           federal law, regardless of whether the party the
          plaintiffs seek to designate as a defendant is nominally a  state
          officer 
                 sued 
                      in his official capacity.  See Pennhurst State Sch. &amp;
          Hosp.
               
               v. 
                  Hald
                      erman, 465 U.S. 89, 102-03 (1984); Edelman v. Jordan,
          415 U.S. 651, 668 (1974).  
                                        -38-
                                         38

                      These 
                           cases 
                                 preclude 
                                         the 
                                             probation officers' attempt to
          rescue their monetary claims against the State of Maine via their
          proposed 
                  addition 
                           of 
                             the 
                                 Commissioner of Corrections as a new party
          defendant.
                   5
                     
                      
                      The plaintiffs-appellants nonetheless argue that just
          because they  "may be  deprived of  recovering retroactive  money
          damages in  federal court  should  not also  mean that  they  are
          deprived 
                  of 
                     the 
                        benefit 
                                of their efforts to have their rights under
          [the] FLSA declared."  However, both sides to this dispute  agree
          that there  is no  continuing violation  of federal  law, as  the
          background 
                    litigation 
                              between them also indicates is the case.  See
          Blackie v. Maine, 75 F.3d  716 (1st Cir. 1996), aff'g Blackie  v.
          Maine, 888 F. Supp. 203 (D. Me. 1995).6
                      No 
                        declaratory 
                                   relief 
                                          can issue in these circumstances.
          See Mansour, 474 U.S. at 71-73.  The Mansour Court concluded that
          injunctive 
                    and declaratory relief could not issue for a variety of
            5.  In fact, the appellants concede that if we find that
            Seminole Tribe deprives this case of federal jurisdiction,
            then "they will not be able to recover money damages in this
            action." 
            6.  We are not unmindful of the Supreme Court's recent
            decision in Idaho v. Coeur d'Alene Tribe of Idaho, -- S. Ct. 
            --, 1997 WL 338603 (U.S. June 23, 1997) (No. 94-1474), which
            cabins and limits the availability of the Ex parte Young
            doctrine even where prospective declaratory and injunctive
            relief is sought against state officers in their individual
            capacities for allegedly ongoing violations of federal law. 
            This new development in the Court's jurisprudence is not
            implicated here.  Unlike Coeur d'Alene, this case does not
            involve an ongoing violation of federal law, but instead
            concerns a backwards-looking dispute over past FLSA
            violations by the State of Maine and possible overtime back
            pay owed the plaintiff probation officers as a result. 
                                        -39-
                                         39

          reasons 
                 that 
                      also exist in this case.  First, the Court in Mansour
          noted that  monetary  relief was  not  available because  it  was
          "prohibited by the Eleventh Amendment."  Id. at 73.  Second,  the
          Court 
               explained 
                        that 
                             "[b]ecause there is no continuing violation of
          federal  law  to  enjoin  in this  case,  an  injunction  is  not
          available."  Id. at  71.  Third, the  Court conceded that it  had
          construed the Declaratory Judgment Act of 1934, 28 U.S.C. S 2201,
          to mean that "declaratory relief may be available even though  an
          injunction is not," but explained  that it had also "held that  a
          declaratory judgment is not available in a number of  instances."
          Id.
             
             at 
                72. 
                     
                     Specifically, declaratory relief was unavailable where
          "the  award of  declaratory judgment  . .  . would  be useful  in
          resolving the  dispute over the  past lawfulness of  respondent's
          action only if it might be offered in state-court proceedings  as
          res 
             judicata 
                      on 
                        the 
                            issue of liability, leaving to the state courts
          only 
              a 
                form 
                    of 
                       accounting proceeding whereby damages or restitution
          could be computed."   Id. at 73.   The Court concluded that  "the
          issuance of a declaratory  judgment in these circumstances  would
          have much the same effect  as a full-fledged award of damages  or
          restitution 
                     by the federal court, the latter kinds of relief being
          of course prohibited by the Eleventh Amendment."  Id. 
                      In 
                        view 
                             of 
                                the marked similarity between the situation
          that confronted the Mansour  Court and that confronts us in  this
          case,  we cannot  help  but  note Mansour's  admonition  that  "a
          declaratory judgment is not available when the result would be  a
                                        -40-
                                         40

          partial 
                 'end 
                      run'" around the rest of the Supreme Court's Eleventh
          Amendment jurisprudence, particularly  its limitations on the  Ex
          parte Young doctrine.  Id.
                      Moreover, Seminole Tribe suggests that the  probation
          officers could not seek  injunctive relief, even if there were  a
          continuing 
                    violation 
                             in 
                                this case, because the FLSA only authorizes
          the  Secretary  of Labor  to  seek  injunctive  relief,  limiting
          employees 
                   to 
                      suits 
                           for 
                               unpaid wages and liquidated damages.  See 29
          U.S.C. SS 216,  217; cf. Donovan v.  Brown Equip. &amp; Serv.  Tools,
          Inc., 666 F.2d 148, 155-56 (5th Cir. 1982) (reviewing legislative
          history).  In the face of this statutory scheme, the  appellants'
          motion to amend their complaint is particularly suspect.  As  the
          Supreme Court  explained in Seminole  Tribe, "where Congress  has
          prescribed a detailed remedial scheme for the enforcement against
          a State of a  statutorily created right, a court should  hesitate
          before casting aside those  limitations and permitting an  action
          against 
                 a 
                   state officer based upon Ex parte Young."  116 S. Ct. at
          1132.7 
                      In sum,  with no right on  the part of the  plaintiff
          probation officers  to seek  retroactive money  damages, with  no
          continuing violation  to justify injunctive  relief, and with  no
          clearly apparent  right on  the part  of the  plaintiffs to  seek
            7.  We believe that the Sixth Circuit's view on this matter
            may thus be precluded by Seminole Tribe.  See Wilson-Jones,
            99 F.3d at 211 (arguing that state employees can invoke Ex
            parte Young to sue a state officer in federal court for
            injunctive relief).
                                        -41-
                                         41

          injunctive relief  even if a  continuing violation were  present,
          declaratory relief, as in Green v. Mansour, would serve no useful
          purpose. 
                   
                   See
                       
                      474 
                          U.S. 
                               at 73.  The only possible use of declaratory
          relief in this case now would be for the purpose of asserting res
          judicata in state court  proceedings.  As we saw above,  however,
          Mansour
                 
                 precludes this option as an impermissible "end run" around
          Eleventh 
                  Amendment 
                           jurisprudence because the result would be little
          different than a  prohibited direct federal court award of  money
          damages against the state to  the extent it would reduce a  state
          court 
               proceeding 
                          into 
                              a 
                                mere accounting session "whereby damages or
          restitution could be computed."  Id.       
                      The  Supreme  Court   has  identified   a  range   of
          circumstances, including undue  delay and futility of  amendment,
          that should preclude  granting a motion to  amend.  See Foman  v.
          Davis
              , 
                371 
                    U.S. 
                        178, 
                             182 
                                 (1962) (construing Fed. R. Civ. P. 15(a)).
          Suffice  to say  that  the panoply  of  legal arguments  we  have
          canvassed above indicates that the plaintiff probation  officers'
          eleventh hour motion  to amend to  seek declaratory relief  fails
          under 
               more 
                    than one prong of the Foman standard.  In particular, a
          declaratory judgment is unavailable  where, as here, the  parties
          agree that there is no ongoing legal violation.8
            8.  This case thus differs from one that the Third Circuit
            recently confronted when it granted a motion to amend brought
            on appeal by state employees seeking to add a new party
            defendant (the Commissioner) and a claim for prospective
            declaratory relief to their pending FLSA claim for overtime
            compensation.  See Balgowan v. New Jersey, Dep't of Transp.,
            -- F.3d --, 1997 WL 305290 (3rd Cir. 1997) (granting the
                                        -42-
                                         42

                                     Conclusion
                      In concluding, we stress that our decision today does
          not  remove state  employees from  the  aegis of  the FLSA.    In
          determining that Seminole  Tribe controls this  case and that  no
          federal jurisdiction  exists, our decision  only relates to  that
          portion  of  the  FLSA  that  purports  to  give  federal  courts
          jurisdiction 
                      over 
                          private FLSA actions brought by employees against
          states.  See 29 U.S.C. S 216(b).  
                      For the  reasons stated above,  we conclude that  the
          district court's decision  to dismiss for lack of subject  matter
          jurisdiction was correct, and we deny the  plaintiffs-appellants'
          motion to amend their complaint. 
                      Affirmed.  Costs to appellee.
            motion to amend where there was a dispute as to whether the
            state was complying with FLSA wage and hour requirements).    
                                        -43-
                                         43


